                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                              3:22-MD-03036-KDB

                                                         )
 IN RE: GARDASIL PRODUCTS LIABILITY                      )               MDL No. 3036
 LITIGATION                                              )
                                                         )     THIS DOCUMENT RELATES TO
                                                         )       ALL BELLWETHER CASES
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               APPENDIX OF MATERIALS IN SUPPORT OF MERCK’S
                MOTION TO EXCLUDE TESTIMONY AND OPINIONS
               OF PLAINTIFFS’ EXPERT MARTIN KULLDORFF, PH.D.

        In support of their Memorandum in Support of Motion to Exclude Testimony and Opinions

of Plaintiffs’ Expert Martin Kulldorff, Ph.D., Defendants Merck & Co., Inc. and Merck Sharp &

Dohme LLC submit the following evidentiary materials:

 TAB                                        DESCRIPTION

   1      Yih W, et al. A Broad Safety Assessment of the 9-Valent Human Papillomavirus
          Vaccine. American Journal of Epidemiology. 2021;190(7):1253-1259

   2      October 25, 2024 Deposition Transcript of Martin Kulldorff, Ph.D.

   3      Kulldorff Expert Report (Sept. 9, 2024).

   4      Gee J, et al. Monitoring the safety of quadrivalent human papillomavirus vaccine:
          Findings from the Vaccine Safety Datalink. Vaccine. 2011(29):8279-8284

          Yih K, et al. Assessment of Quadrivalent Human Papillomavirus Vaccine Safety
   5      Using the Self-Controlled Tree-Temporal Scan Statistic Signal-Detection Method in
          the Sentinel System. American Journal of Epidemiology. 2018;187(6):1269-1276

          European Medicines Agency, Assessment Report on Human Papillomavirus (HPV)
          Vaccines (November 11, 2015), available at
   6
          https://www.ema.europa.eu/en/documents/referral/hpv-vaccines-article-20-
          procedure-assessment-report_en.pdf.



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          European Medicines Agency (“EMA”), Glossary of Regulatory Terms – Safety
   7      Signal, available at
          https://www.ema.europa.eu/en/glossary-terms/safety-signal

          FDA, Potential Signals of Serious Risks (Dec. 30, 2024),
   8      https://www.fda.gov/drugs/fdas-adverse-event-reporting-system-faers/potential-
          signals-serious-risksnew-safety-information-identified-fda-adverse-event-reporting-
          system (last visited January 4, 2025)

   9      October 18, 2024 Deposition Transcript of Lucija Tomljenovic, Ph.D.




DATED: January 6, 2025                             Respectfully submitted,

                                                   /s/ Allyson M. Julien

                                                   Allyson M. Julien
                                                   Co-Lead Counsel for Merck
                                                   GOLDMAN ISMAIL TOMASELLI
                                                     BRENNAN & BAUM LLP
                                                   200 South Wacker Drive
                                                   22nd Floor
                                                   Chicago, IL 60606
                                                   Telephone: (312) 881-5968
                                                   Facsimile: (312) 881-5191
                                                   ajulien@goldmanismail.com

                                                   David C. Wright III
                                                   Liaison Counsel for Merck
                                                   ROBINSON, BRADSHAW & HINSON P.A.
                                                   101 N. Tryon Street, Suite 1900
                                                   Charlotte, NC 28246
                                                   Telephone: (704) 377-8322
                                                   Facsimile: (704) 373-3922
                                                   dwright@robinsonbradshaw.com

                                                   David E. Dukes
                                                   Co-Lead Counsel for Merck
                                                   NELSON MULLINS RILEY &
                                                    SCARBOROUGH LLP
                                                   1320 Main St., 17th Floor
                                                   Columbia, SC 29201
                                                   Telephone: (803) 255-9451
                                                   Facsimile: (803) 256-7500

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                                    david.dukes@nelsonmullins.com




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